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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 State Farm Mutual Automobile Insurance                          1:23-cv-0776-(RER)(MMH)
 Company,
                                                                 ORDER DISMISSING CASE
                  v.

 Bogopa LIC, Inc. d/b/a Food Bazaar
 Supermarket, et al
 ----------------------------------------------------X

         The Court is in receipt of Plaintiﬀ’s letter [30] informing of a settlement in
 principle. Accordingly, the case is to be closed, subject to reopening within 60 days
 if the settlement is not consummated. The Clerk of the Court is directed to close
 the case.

 SO, ORDERED.

 Date: 10/27/2024                                            s/ Ramón E. Reyes, Jr.
                                                         UNITED STATES DISTRICT JUDGE
